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                 16                               UNITED STATES DISTRICT COURT
                 17                         SOUTHERN DISTRICT OF CALIFORNIA
                 18   APPLE INC.,                             CASE NO. 3:14-cv-02235-DMS-BLM
                 19                                           (lead case);
                                     Plaintiff,               CASE NO. 3:14-cv-1507-DMS-BLM
                 20                                           (consolidated)
                             v.
                 21                                           DEFENDANT APPLE INC.’S MOTION
                      WI-LAN, INC.,                           FOR JUDGMENT AS A MATTER OF
                 22                                           LAW AT THE CLOSE OF
                                     Defendant.               PLAINTIFF’S CASE PURSUANT TO
                 23                                           FED. R. CIV. P. RULE 50(A)

                 24                                           Dept.: 13A
                                                              Judge: Hon. Dana M. Sabraw
                 25                                           Magistrate Judge: Hon. Barbara L. Major

                 26   AND RELATED
                      COUNTERCLAIMS
                 27
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                                                                            APPLE’S RULE 50(A) JMOL MOTION
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                  1          Pursuant to Fed. R. Civ. P. 50(a), Defendant Apple Inc. (“Apple”) moves for
                  2   judgment as a matter of law (“JMOL”) that Wi-LAN did not present legally
                  3   sufficient evidence to allow a reasonable jury to conclude that Wi-LAN is entitled
                  4   to any damages at all, much less the $85 million it requests.
                  5   I.     INTRODUCTION
                  6          Wi-LAN bears the burden of proof on damages. The damages must be
                  7   apportioned between the patented and unpatented features of the products at issue.
                  8   But Wi-LAN presented no substantial evidence from which damages can be
                  9   apportioned. JMOL of zero damages thus should be entered in Apple’s favor.
                 10          The Supreme Court, the Federal Circuit, and this Court have held that
                 11   apportionment by the patentee is always required, and its absence is never excused.
                 12   Specifically, “[t]he patentee . . . must in every case give evidence tending to
                 13   separate or apportion . . . the patentee’s damages between the patented feature and
                 14   the unpatented features.” Garretson v. Clark, 111 U.S. 120, 121 (1884) (internal
                 15   quotation marks omitted). In addition, “such evidence must be reliable and
                 16   tangible, and not conjectural or speculative.” Id. As a matter of law, Wi-LAN
                 17   failed to meet both aspects of its burden of proof.
                 18          First, Wi-LAN offered no evidence tending to apportion damages between
                 19   the patented and unpatented features for Apple’s accused products. Apportionment
                 20   means that “[t]he trial court must carefully tie proof of damages to the claimed
                 21   invention’s footprint in the market place.” ResQNet.com Inc. v. Lansa Inc., 594
                 22   F.3d 860, 869 (Fed. Cir. 2010). Wi-LAN’s damages expert, Mr. Kennedy,
                 23   provided no evidence that supports the required nexus. When asked, “And this
                 24   adjusted per phone rate of 45 cents per phone, does that reflect the value of the
                 25   patented technology in your opinion?”, Mr. Kennedy responded: “Yes. That’s what
                 26   I’ve tried to do with my adjustments, yes.” Trial Transcript (“Tr.”) at 246:25 to
                 27   247:4. But none of Mr. Kennedy’s “adjustments” had anything to do with the value
                 28   of the patented technology or the relative value of patented and unpatented features.
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                  1          Rather, Mr. Kennedy’s adjustments to the three licenses he considered
                  2   strictly concerned matters unrelated to the claimed invention’s footprint in the
                  3   marketplace. Completely apart from whether it was proper to rely on these licenses
                  4   in the first place, this analysis was legally insufficient to support a damages award.
                  5   Mr. Kennedy’s “adjustments” were based on: (1) the assumption of validity and
                  6   infringement, Tr. at 228:14-16; (2) a “subset discount” for a less-than-portfolio
                  7   license, Tr. at 228:17-19; (3) U.S. vs. worldwide royalty rates in general, Tr. at
                  8   228:20-23; (4) no “early adopter” discount, Tr. at 228:24 to 229:1; and (5) larger
                  9   sales volumes for Apple, Tr. at 229:2-3. See also Tr. at 229:4 to 247:4 (walking
                 10   through each of these five adjustments and concluding that a 45 cents per unit
                 11   royalty rate is appropriate). None of these adjustments relates in any way to the
                 12   value of the patented technology, much less the relative value of the patented and
                 13   unpatented features. Mr. Kennedy did not even try to tether the value of the
                 14   invention to the patent claims that were found infringed, to any technical evidence
                 15   about the invention’s footprint, or to any economic analysis of the contribution of
                 16   the invention to the accused products in the marketplace.
                 17          In short, Mr. Kennedy offered nothing that satisfies—or even speaks to—the
                 18   apportionment requirement. Nor did any other witness fill this gap. As a result,
                 19   Wi-LAN has no substantial evidence of damages, and the case should not even be
                 20   submitted to the jury.
                 21          Second, even if Mr. Kennedy’s testimony were viewed (incorrectly) as
                 22   “tending to . . . apportion,” that evidence was not “reliable and tangible.”
                 23   Garretson, 111 U.S. at 121. Wi-LAN instead started with three licenses that are not
                 24   remotely comparable to what Apple and Wi-LAN hypothetically would have
                 25   negotiated. Wi-LAN then derived from those non-comparable licenses a royalty
                 26   rate, mainly by applying an impermissible rule of thumb untethered from the
                 27   particular facts of this case. This is another independent reason why Wi-LAN fails
                 28   the apportionment test as a matter of law, and JMOL of no damages is required.
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                  1          Consistent with Supreme Court and Federal Circuit precedent—not to
                  2   mention this Court’s prior orders in the case—this Court has decided to instruct the
                  3   jury that “[t]he amount you find as damages must be based on the value attributable
                  4   to the patented technology, as distinct from other, unpatented features of the
                  5   accused product, or other factors such as marketing or advertising, or Apple’s size
                  6   or market position.” Jury Instruction No. 17.1. Wi-LAN’s burden was put into the
                  7   trial record evidence that is legally sufficient to enable the jury to perform this task.
                  8   Wi-LAN completely failed to meet this burden.
                  9          This alone should end the case. But if the Court sees a need to look any
                 10   further, Wi-LAN has similarly failed to meet its additional burden to give the jury
                 11   legally sufficient evidence to do another Court-assigned job: “[Y]ou must account
                 12   for any differences between those licenses and the hypothetically negotiated license
                 13   between Wi-LAN and Apple, in terms of the technologies and economic
                 14   circumstances of the contracting parties, when you make your reasonable royalty
                 15   determination.” Jury Instruction No. 17. Each of these failures is an independent
                 16   reason why a judgment of zero damages should be entered against Wi-LAN as a
                 17   matter of law.
                 18   II.    LEGAL STANDARD FOR JMOL
                 19          Fed. R. Civ. P. 50(a) provides for the grant of JMOL at the close of a
                 20   plaintiff’s case if a “reasonable jury would not have a legally sufficient evidentiary
                 21   basis to find” for the plaintiff. JMOL “is proper when the evidence permits only
                 22   one reasonable conclusion. The evidence must be viewed in the light most
                 23   favorable to the nonmoving party, and all reasonable inferences must be drawn in
                 24   favor of that party.” Berry v. Bunnell, 39 F.3d 1056, 1057 (9th Cir. 1994). The
                 25   JMOL standard “mirrors” the summary judgment standard, “such that the inquiry
                 26   under each is the same.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133,
                 27   150 (2000) (internal quotation omitted). “[T]o defeat a Rule 50 motion, the
                 28   nonmoving party must come forward with more than a scintilla of evidence, and do
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                  1   more than rely on conclusory, self-serving, and speculative testimony.” United
                  2   Nat’l Maint., Inc. v. San Diego Convention Ctr. Corp., Inc., No. 07-cv-2172 AJB,
                  3   2012 WL 12845620, at *2 (S.D. Cal. Sept. 5, 2012) (internal quotations omitted).
                  4   III.   WI-LAN FAILED TO PROVE DAMAGES AS A MATTER OF LAW
                  5          A.      Wi-LAN Fails the Apportionment Requirement as a Matter of
                  6   Law Because It Presented No Evidence Tethering Its Damages Claim to the
                  7   Economic Footprint of the Invention in the Marketplace.
                  8          To survive a Rule 50(a) motion, Wi-LAN needed to “give evidence tending
                  9   to separate or apportion . . . the patentee’s damages between the patented feature
                 10   and the unpatented features.” Garretson, 111 U.S. at 121 (internal quotation marks
                 11   omitted); see also VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1329 (Fed. Cir.
                 12   2014) (“The law requires patentees to apportion the royalty down to a reasonable
                 13   estimate of the value of its claimed technology.”). Consistent with this precedent,
                 14   this Court has decided to instruct the jury that “[y]ou must be careful to ensure that
                 15   award is no more or no less than the value of the patented invention.” Jury
                 16   Instruction No. 14 (emphasis added). The Court likewise has decided to instruct
                 17   the jury that “[t]he amount you find as damages must be based on the value
                 18   attributable to the patented technology, as distinct from other, unpatented features
                 19   of the accused product, or other factors such as marketing or advertising, or Apple’s
                 20   size or market position.” Jury Instruction No. 17.1; see also id. (“In determining
                 21   the appropriate royalty base and the appropriate royalty rate, the ultimate
                 22   combination of both the royalty rate and the royalty base must reflect the value
                 23   attributable to the patented technology.”) (emphasis added).
                 24          Despite bearing the burden of proof on damages, Wi-LAN failed to provide
                 25   substantial evidence that would allow the jury to perform the required
                 26   apportionment. There is no dispute that iPhones have functionality well beyond the
                 27   broad categories of functionality at issue in this case, even if one focused on just
                 28   their baseband chips. As to those categories, we know from Wi-LAN admissions
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                  1   and prior court rulings that Wi-LAN did not invent the entirety of LTE, VoLTE,
                  2   adaptive modulation, or bandwidth allocation. Tr. at 101:13 to 103:13. At most, its
                  3   patents allegedly made some contribution to one or more of those areas, and it is
                  4   therefore incumbent upon Wi-LAN to provide the jury with record evidence from
                  5   which it might apportion value among patented and unpatented aspects. Wi-LAN
                  6   utterly failed to do so.
                  7          Rather, through its damages expert Mr. Kennedy, Wi-LAN simply offered a
                  8   series of “adjustments” to the baseline royalty rate it took from the three licenses on
                  9   which it relied. Setting aside for now the problems with Wi-LAN’s reliance on the
                 10   Doro, Unnecto, and Vertu licenses in the first place (addressed in the next section),
                 11   none of Wi-LAN’s adjustments has any nexus to the value of the patented
                 12   technology. Nor are any of these adjustments useful in apportioning the economic
                 13   contribution of the patented features from that of the many unpatented features of
                 14   the accused products. Wi-LAN therefore has not supplied any tools with which the
                 15   jurors can do the job that this Court would assign to them. As a result, a pre-verdict
                 16   JMOL of no damages is warranted.
                 17          Wi-LAN did not provide any apportionment evidence through its fact
                 18   witnesses or its technical witness, Dr. Madisetti. They spoke nary a word that tends
                 19   to apportion the value of the features covered by the asserted patent claims from the
                 20   value of the many unpatented features of the accused products. That task
                 21   presumably would be left to Mr. Kennedy. Yet Mr. Kennedy’s turn to speak came
                 22   and went likewise without any evidence of the “value attributable to the patented
                 23   technology.” Jury Instruction No. 17.1.
                 24          Instead, after discussing the three licenses on which its damages case hinges,
                 25   Wi-LAN’s counsel asked Mr. Kennedy: “And this adjusted per phone rate of 45
                 26   cents per phone, does that reflect the value of the patented technology in your
                 27   opinion?” Tr. at 246:25 to 247:2. Mr. Kennedy responded: “Yes. That’s what I’ve
                 28   tried to do with my adjustments, yes.” Tr. at 247:3 to 247:4. But none of Mr.
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                  1   Kennedy’s “adjustments” had anything to do with the value of the patented
                  2   technology or the relative value of patented and unpatented features.
                  3          Rather, Mr. Kennedy’s adjustments to the three licenses he considered
                  4   strictly concerned matters unrelated to the claimed invention’s footprint in the
                  5   marketplace. This analysis was legally insufficient to support a damages award,
                  6   and Wi-LAN has no other evidence to fill this gaping hole. Mr. Kennedy’s
                  7   “adjustments” were based on: (1) the assumption of validity and infringement, Tr.
                  8   at 228:14-16; (2) a “subset discount” for a less-than-portfolio license, Tr. at 228:17-
                  9   19; (3) U.S. vs. worldwide royalty rates in general, Tr. at 228:20-23; (4) no “early
                 10   adopter” discount, Tr. at 228:24 to 229:1; and (5) larger sales volumes for Apple,
                 11   Tr. at 229:2-3. See also Tr. at 229:4 to 247:4 (walking through each of these five
                 12   adjustments and concluding that a 45 cents per unit royalty rate is appropriate).
                 13   None of these adjustments relates in any way to the value of the patented
                 14   technology, much less the relative value of the patented and unpatented features:
                 15          (1) The assumption of validity and infringement is a background premise of
                 16   the hypothetical negotiation. It says nothing about the differences between the
                 17   patented and unpatented features, nor how to apportion economic value between the
                 18   two.
                 19          (2) Mr. Kennedy’s purported 25% “subset discount” for a less-than-portfolio
                 20   license—which suffers from its own legal defects discussed in the next section—is
                 21   completely untethered from the value of the patented invention and the relative
                 22   economic contributions of the patented and unpatented features. In fact, Wi-LAN
                 23   has admitted that this is just a rule of thumb it supposedly would apply in
                 24   blunderbuss fashion to any subset of patents within its portfolio—regardless of the
                 25   economic footprint of the patented invention or any other relevant facts.
                 26          (3) Mr. Kennedy’s generic premise about the difference between worldwide
                 27   and United States royalty rates in license agreements bears no relationship to the
                 28   value of the patented technology or the relative economic contributions of patented
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                  1   and unpatented features here. This premise relates simply to the geographic scope
                  2   of the license that is being hypothetically negotiated.
                  3          (4) Mr. Kennedy’s so-called “early adopter discount” also has no connection
                  4   to the particular technology at issue or its economic footprint in the marketplace.
                  5   Rather, it is just another generic premise, this one relating to the timing of the
                  6   hypothetical negotiation.
                  7          (5) Finally, Mr. Kennedy’s consideration of sales volumes is also completely
                  8   irrespective of the particular technology, accused products, and relative economic
                  9   contributions of patented and unpatented features. Rather, this “adjustment” relates
                 10   only to whether the volume of sales is large or small—regardless of what it is that is
                 11   being sold and how much the patented invention might contribute to its value.
                 12          And that is all. Mr. Kennedy offered no testimony or other evidence that
                 13   would allow the jury to measure the economic footprint of Wi-LAN’s patented
                 14   invention. Nor did he provide any evidence that would enable the jury to size up
                 15   the accused products and apportion out the economic value attributable to
                 16   unpatented features and factors. Faced with an obligation to apportion, Wi-LAN
                 17   never even made it to the starting line. As a result, it would be improper for its
                 18   damages claim to go to the jury.
                 19          This alone is enough to warrant JMOL in Apple’s favor. But Wi-LAN’s
                 20   failure of proof is further compounded by its improper use of the value of the entire
                 21   iPhone as its royalty base and rejection of the baseband processor as the smallest
                 22   salable unit (“SSU”). “Where small elements of multi-component products are
                 23   accused of infringement, calculating a royalty on the entire product carries a
                 24   considerable risk that the patentee will be improperly compensated for non-
                 25   infringing components . . . .” Commonwealth Sci. & Indus. Research Org. v. Cisco
                 26   Sys., Inc., 809 F.3d 1295, 1302-1303 (Fed. Cir. 2015) (“CSIRO”). “[W]here
                 27   multicomponent products are accused of infringement, the royalty base should not
                 28   be larger than the smallest salable unit embodying the patented invention.” Power
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                  1   Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 894 F.3d 1258, 1270 (Fed.
                  2   Cir. 2018).
                  3          In granting summary judgment of non-infringement based on the inclusion of
                  4   licensed Intel chipsets in iPhones, this Court has already acknowledged that the
                  5   chipset containing the baseband processor is the SSU. ECF No. 401 at 9-11. Even
                  6   Wi-LAN’s former CEO, Jim Skippen, implicitly acknowledged this fact by
                  7   testifying that the Intel license covered and licensed iPhones with an Intel chipset.
                  8   See Tr. at 197:9-24. Yet, Wi-LAN and Mr. Kennedy ignored this Court’s findings
                  9   and chose to present a damages case based on the entire iPhone value.
                 10          Despite these contrary facts, Mr. Kennedy ignored the baseband processor as
                 11   the SSU, “reject[ing] the notion” that this fundamental damages principle is
                 12   applicable. Id. at 309:17 to 310:1 (“Q: You didn’t consider the smallest salable
                 13   unit in your analysis[?] . . . A: I did not testify on direct about that, no. Q: In fact,
                 14   sir, you reject the notion that the smallest salable unit is the baseband chip that
                 15   Qualcomm supplies to Apple. You have said that. A: Yeah. I disagree that that is
                 16   the smallest salable unit . . . .”). Neither does Mr. Kennedy perform an
                 17   apportionment down to the patented technology—he admits as much. Id. at
                 18   313:13-16 (“Q: And you have said that you don’t have sufficient information to be
                 19   able to parse out the relative contributions of those other features. That’s your
                 20   testimony. A: That’s correct.”). This is all the more troubling because he agrees
                 21   that the processors are salable, are sold, and are smaller units than the iPhone. Id. at
                 22   312:5 to 312:20 (“Q: so the baseband chip is small, salable, and a unit, right? A:
                 23   Disconnecting all of those words, that is true that they are, small, and they are
                 24   salable, and they are units. . . .”). And he agrees that Apple “shouldn’t be paying
                 25   for technology that goes beyond the scope of the smallest salable unit.” Id. at
                 26   312:25 to 313:7 (“Q: They shouldn’t be paying for technology that goes beyond
                 27   the scope of the smallest salable unit, whatever it is, right? A: Right. If the
                 28   smallest salable unit is all -- is in the application processor and the baseband
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                  1   processor and the antenna and other component’s . . . if you were going to look at it
                  2   that way that is where their technology resides and they shouldn’t pay for
                  3   technology they don’t own.”). Mr. Kennedy failed to apply longstanding Federal
                  4   Circuit law requiring apportionment based on the SSU, and the jury should not be
                  5   allowed to consider such testimony. See Power Integrations, Inc., 894 F.3d at
                  6   1270.
                  7           For its damages claim to even be submitted to the jury, Wi-LAN was
                  8   required to, at a minimum: (1) identify and calculate damages from the smallest
                  9   saleable patent practicing unit (here, the baseband processor); (2) further apportion
                 10   to identify the value of VoLTE among the other features of the baseband processor;
                 11   and (3) further apportion to separate out the unpatented aspects of VoLTE—
                 12   including, most notably, Apple’s own patented and valuable contributions to
                 13   VoLTE. Wi-LAN did they opposite by hand-waving about the supposed
                 14   “footprint” of the invention. See Tr. at 293:24-25 (“ . . . It relates to VoLTE, it is a
                 15   portion of VoLTE.”). Mr. Kennedy did none of those things, and his testimony
                 16   therefore cannot constitute substantial evidence supporting a damages award in this
                 17   case. Wi-LAN in fact presented no evidence at all that would permit the jury to
                 18   apportion between the patented and unpatented features of the accused products.
                 19   JMOL of no damages should therefore be entered.
                 20           B.     Wi-LAN’s Damages Evidence Is Not “Reliable and Tangible,” But
                 21   Instead Turns on the Application of an Impermissible Rule of Thumb to Non-
                 22   Comparable Licenses.
                 23           Even if Wi-LAN’s evidence were viewed (incorrectly) as meeting the first
                 24   requirement of “tending to . . . apportion,” it still fails the second requirement
                 25   because its evidence not “reliable and tangible” for this task. Garretson, 111 U.S.
                 26   at 121. In addition to the above instructions on apportionment, this Court has
                 27   decided to instruct the jury that “you must account for any differences between
                 28   those licenses and the hypothetically negotiated license between Wi-LAN and
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                  1   Apple, in terms of the technologies and economic circumstances of the contracting
                  2   parties, when you make your reasonable royalty determination.” Jury Instruction
                  3   No. 17:. All the evidence that Wi-LAN has given the jury on this subject is, at best,
                  4   unreliable and speculative and therefore legally insufficient to perform this task.
                  5   This is another independent reason why JMOL of no damages is warranted.
                  6          Mr. Kennedy’s opinions are unreliable and untethered to the facts of this case
                  7   for several reasons. For one thing, the three licenses on which he relies are too far
                  8   afield from the economic circumstances of the hypothetical negotiation between
                  9   Wi-LAN and Apple. Among other things, Mr. Kennedy fails to account for the
                 10   broader range of technologies covered by these licenses than the two-patent
                 11   hypothetical license to Apple, whether the asserted patents had any particular value
                 12   to the licensees, and whether licenses to these low-volume, specialty phone
                 13   manufacturers would have any relevance at all to a licensee like Apple.
                 14          In addition, Mr. Kennedy improperly assumes the four claims at issue are
                 15   worth an arbitrary 75 percent of Wi-LAN’s entire portfolio. This assumption is not
                 16   tied to any analysis of the patent claims or their value. Rather, he admits the same
                 17   75 percent rule would apply to any subset of Wi-LAN patents; it does not matter
                 18   how many or which ones. See 329:17 to 330:18. The only requirement is that the
                 19   subset be less than the entire portfolio. He then boosts his number back up by 20
                 20   percent supposedly to account for the assumption of infringement and validity—
                 21   making the four claims worth 90 percent of the entire portfolio—arriving at 45
                 22   cents per unit ($85 million) that Apple supposedly would have agreed to pay Wi-
                 23   LAN. This purported “subset discount” is not any sort of analysis of the relative
                 24   value of the four asserted claims versus the thousands of claims licensed to Doro,
                 25   Unnecto, and Vertu. Wi-LAN acknowledged these companies were licensed to
                 26   Bluetooth, CDMA, HSPA, LTE, and Wi-Fi patents that Wi-LAN saw value in. Tr.
                 27   at 203:3 to 205:19; 325:24 to 326:12. Wi-LAN presented no evidence quantifying
                 28   the extent to which the asserted claims are more or less valuable than any others in
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                  1   Wi-LAN’s portfolio. The “subset discount” is not even a numerical comparison of
                  2   the number of licensed claims versus the number of claims asserted in this case. In
                  3   short, the “subset discount” is not a reliable or otherwise legally sufficient tool for
                  4   apportionment.
                  5          Mr. Kennedy’s arbitrary “subset discount” (1) starts with a “portfolio license
                  6   rate,” and (2) applies to any licensee and any subset of Wi-LAN patents—not the
                  7   asserted patents. His opinion therefore hinges on a “rule of thumb” similar to ones
                  8   the Federal Circuit has repeatedly excluded. See, e.g., Uniloc USA, Inc. v.
                  9   Microsoft Corp., 632 F.3d 1292, 1318 (Fed. Cir. 2011) (rejecting 25% rule of
                 10   thumb as a “fundamentally flawed tool for determining a baseline reasonable
                 11   royalty in a hypothetical negotiation”); VirnetX, 767 F.3d at 1333 (rejecting “Nash
                 12   Bargaining Solution” 50 percent rule of thumb, holding use of arbitrary rule not tied
                 13   to facts of the case is “unjustified by evidence about the particular facts of the
                 14   case”).
                 15          In sum, Mr. Kennedy was required to “present evidence sufficient to allow
                 16   the jury to weigh the economic value of the patented feature against the economic
                 17   value of the features and services covered by” the Doro, Unnecto, and Vertu
                 18   licenses. DataQuill Ltd. v. High Tech Comput. Corp., 887 F. Supp. 2d 999, 1021-
                 19   25 (S.D. Cal. 2011); Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1327
                 20   (Fed. Cir. 2009) (portfolio license was “radically different from the hypothetical
                 21   agreement under consideration for the [asserted] patent”); Ericsson, Inc. v. D-Link
                 22   Sys., Inc., 773 F.3d 1201, 1227-28 (Fed. Cir. 2014) (comparable license analysis
                 23   must involve apportionment). Mr. Kennedy did nothing of the sort, so his opinions
                 24   are not substantial evidence that can support a damages award here. And Wi-LAN
                 25   has no other evidence with which this essential task can be performed. In addition
                 26   to its most fundamental failure to supply any evidence that tends to apportion, the
                 27   unreliability and fact-agnostic character of Wi-LAN’s damages case is another
                 28   independent reason for JMOL of no damages.
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                  1   IV.    CONCLUSION
                  2          Wi-LAN needs substantial evidence of damages to even get this case to the
                  3   jury. This means that Wi-LAN—like patentees “in every case,” Garretson, 111
                  4   U.S. at 121—must present evidence sufficient to enable the jury to apportion
                  5   between the patented and unpatented features of the accused product. Wi-LAN
                  6   presented no evidence that might meet this standard. All its evidence instead is
                  7   untethered to the economic footprint of the patented invention in the marketplace.
                  8   JMOL of zero damages therefore should be entered.
                  9
                 10   Dated: January 22, 2020               DLA PIPER LLP (US)
                 11
                                                            By /s/ Sean C. Cunningham
                 12                                           SEAN C. CUNNINGHAM
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                  1                              CERTIFICATE OF SERVICE
                  2           I hereby certify that on January 22, 2020, I electronically transmitted the
                  3   attached document to the Clerk’s Office using the CM/ECF System for filing and
                  4   transmittal of a Notice of Electronic Filing to the CM/ECF registrants.
                  5
                                                                       /s/ Sean C. Cunningham
                  6                                                    Sean C. Cunningham
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